Case 9:17-mj-08268-DLB Document 45 Entered on FLSD Docket 06/06/2018 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,
                                                      No. 17-MJ-08268-DLB
        v.

  ERIC SNYDER, and
  CHRISTOPHER FULLER,
           Defendants.


                                        ORDER


        Upon this Court’s consideration of the parties’ stipulation, hereby

  incorporated into this Order, and the Court being otherwise fully apprised of the

  circumstances,

        IT IS ORDERED that the preliminary hearing shall be continued until July

  9, 2018.

        IT IS FURTHER ORDERED that the time period from June 8, 2018, to

  July 9, 2018, shall be deemed excludable delay under the provisions of the Speedy

  Trial Act, Title 18 United States Code, Section 3161(h)(7). The ends of justice

  outweigh the interests of the defendant and the public in a speedy trial pursuant to

  18 U.S.C. § 3161(h)(7) for the following reasons:

        1.     The defendant is under investigation for conspiracy to commit health

  care fraud, in violation of 18 U.S.C. § 1349;
Case 9:17-mj-08268-DLB Document 45 Entered on FLSD Docket 06/06/2018 Page 2 of 2



           2.    Because of the factual and legal issues involved in this case, the parties

  respectfully submit that, due to the nature of the prosecution and the existence of

  novel questions of fact or law, the facts upon which the grand jury must base its

  determination are unusual or complex;

           3.    The parties have been discussing potential pre-indictment resolution of

  this matter prior to this motion, but will be unable to reach any resolution; and

           4.    The government is meeting with defense counsel for other parties to

  determine if a resolution of the case short of Indictment is possible; if not, these

  additional parties may be indicted along with the defendants.

           Accordingly, the Court finds that the need for counsel to discuss the potential

  charges and resolution of the case outweighs the needs of the public and the

  defendant, and that the time period between June 6, 2018, through July 9, 2018, is

  deemed excludable delay under the Speedy Trial Act, 18 U.S.C. § 3161(h), and

  specifically by reason of 18 U.S.C. §§ 3161(h)(7)(A), (B)(i), (B)(ii), (B)(iii), and

  (B)(iv), in computing the time within which an information or indictment must be

  filed.

           SO ORDERED.

  Dated: June 6, 2018

                                                        DAVE LEE BRANNON
                                                        U.S. MAGISTRATE JUDGE



                                              2
